                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:12-00076
                                                   )      JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                           )

                                           ORDER

      The change of plea and/or the pretrial conference scheduled for April 5, 2013, is

RESCHEDULED for April 3, 2013, at 9:00 a.m.

      All other deadlines set forth in Order (Docket No. 170) entered January 3, 2013, remain

unchanged.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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